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     A Professional Law Corporation
2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     MAGGIE LUONG
6
7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11
     UNITED STATES OF AMERICA,       )      No. CR-S 08-543 GEB
12                                   )
                    Plaintiff,       )
13                                   )      STIPULATION AND ORDER VACATING
          v.                         )      DATE, CONTINUING CASE, AND
14                                   )      EXCLUDING TIME
     MAGGIE LUONG,                   )
15                  Defendant.       )
                                     )      Date   2/25/11
16   _______________________________ )      Time: 9:00 a.m.
                                     )      Judge: Hon. BURRELL
17
18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney Michael Beckwith, Counsel for Plaintiff, and Attorney Dina L.
20
     Santos, Counsel for Defendant Maggie Luong, that the status conference
21
     scheduled for February 18, 2011, be vacated as well as the jury trial
22
     and the matter be continued to this Court's criminal calendar on
23
     February 25, 2011, at 9:00 a.m. for change of plea.
24
          This continuance is requested by the defense in order to continue
25
     in negotiations with the prosecution to finalize the plea agreement.    A
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     new plea agreement has been presented to the defense and it is
27
     anticipated that Ms Luong will enter a change of plea at the next court
28
            Case 2:08-cr-00543-KJM Document 272 Filed 02/18/11 Page 2 of 3


1    date. A few final details remain to be negotiated to finalize the plea
2    agreement and the Chinese interpreter must read the changes to the
3    client.
4
5          IT IS FURTHER STIPULATED that time for trial under the Speedy
6    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
7    3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
8    ends of justice served in granting the continuance and allowing the
9    defendant further time to prepare outweigh the best interests of the
10   public and the defendant in a speedy trial.
11         The Court is advised that all counsel have conferred about this
12   request, that they have agreed to vacate the current status date and
13   trial date and to continue the case the February 25, 2011, date, and
14   that Mr. Beckwith has authorized Ms. Santos to sign this stipulation on
15   his behalf.
16
17
18         IT IS SO STIPULATED.
19
20   Dated: Feb. 17, 2011                     /S/ Dina L. Santos
                                             DINA L. SANTOS
21                                           Attorney for
                                             Maggie Luong
22
23   Dated: Feb. 17, 2011                     /S/ Michael Beckwith
                                             MICHAEL BECKWITH
24                                           Assistant United States Attorney
                                             Attorney for Plaintiff
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     Stipulation and Order                    2
              Case 2:08-cr-00543-KJM Document 272 Filed 02/18/11 Page 3 of 3


1                                          O R D E R
2          IT IS SO ORDERED.
3    Dated:     February 18, 2011
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5                                         GARLAND E. BURRELL, JR.
6                                         United States District Judge

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     Stipulation and Order                      3
